     Case 2:09-cr-00015-EFS   ECF No. 1243   filed 11/12/09   PageID.4817 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )    CR-09-015-EFS-3
                         Plaintiff,             )
 9                                              )    ORDER GRANTING DEFENDANT’S
       v.                                       )    MOTION TO MODIFY
10                                              )
       TRONG V. NGUYEN,                         )            MOTION GRANTED
11                                              )             (Ct. Rec. 1204)
                         Defendant.             )
12                                              )

13          Before the court is Defendant’s Motion to modify his conditions

14    of release to remove electronic monitoring.               (Ct. Rec. 1204.)

15          The Defendant’s Motion (Ct. Rec. 1204) is GRANTED.                Defendant

16    no longer shall be subject to electronic monitoring.                   Instead he

17    shall be on a curfew of 6:30 p.m. to 7:30 a.m. daily.                     For good

18    cause, such as for employment needs, Pretrial Services may modify

19    Defendant’s curfew hours.

20          IT IS SO ORDERED.

21          DATED November 12, 2009.

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23                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING DEFENDANT’S MOTION TO MODIFY - 1
